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Attorneys for Plaintiff

DANNY KEY,

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

Plaintiff,

VS.

RESONANT, INC., GEORGE B.

HOLMES, MICHAEL FOX, RUBEN
CABALLERO, ALAN B. HOWE, JACK

H. JACOBS, JOSH JACOBS, JEAN
RANKIN, and BOB TIRVA,

Defendants.

Case No.:
Complaint For:

(1) Violation of § 14 (e) of the Securities
Exchange Act of 1934

(2) Violation of § 14 (d) of the Securities
Exchange Act of 1934

(3) Violation of § 20(a) of the Securities
Exchange Act of 1934

JURY TRIAL DEMANDED

Plaintiff, Danny Key (“Plaintiff”), by and through his attorneys, alleges upon information

and belief, except for those allegations that pertain to him, which are alleged upon personal

knowledge, as follows:

SUMMARY OF THE ACTION

1, Plaintiff brings this stockholder action against Resonant, Inc. (“Resonant, Inc.” or

the “Company”) and the Company’s Board of Directors (the “Board” or the “Individual

Defendants,” and collectively with the Company, the “Defendants”), for violations of Sections

14(e), 14 (d), and 20(a) of the Securities and Exchange Act of 1934 (the “Exchange Act”) as a

result of Defendants’ efforts to sell the Company to Murata Manufacturing Co., Ltd.. (“Parent” or

“Murata”) as a result of an unfair process, and to enjoin an upcoming tender offer on a proposed
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all cash transaction representing a total approximate value of $294 million (the “Proposed
Transaction’’).

2. The terms of the Proposed Transaction were memorialized in a February 14, 2022,
filing with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the definitive
Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the Merger
Agreement, Murata will acquire all the outstanding shares of Resonant, Inc. common stock for
$4.50 per share in cash. As a result, Resonant, Inc. will become an indirect wholly-owned
subsidiary of Murata.

6. Thereafter, on February 28, 2022, Resonant filed a Solicitation/Recommendation
Statement on Schedule 14D-9 (the “Recommendation Statement”) with the SEC in support of the
Proposed Transaction.

4. The Proposed Transaction is unfair for a number of reasons. Significantly, the
Recommendation Statement describes an insufficient process with only one goal in mind — to sell
the Company to Murata.

5. Next, it appears as though the Board has entered into the Proposed Transaction to
procure for itself and senior management of the Company significant and immediate benefits with
no thought to Plaintiff as a public stockholder. For instance, pursuant to the terms of the Merger
Agreement, upon the consummation of the Proposed Transaction, Company Board Members and
executive officers will be able to exchange all Company equity awards for the merger
consideration.

6. In violation of the Exchange Act, Defendants caused to be filed the materially
deficient Recommendation Statement on February 28, 2022, with the SEC in an effort to solicit
stockholders, including Plaintiff, to tender their Resonant shares in favor of the Proposed
Transaction. The Recommendation Statement is materially deficient, deprives Plaintiff of the
information necessary to make an intelligent, informed and rational decision of whether to tender
in favor of the Proposed Transaction, and is thus in violation of the Exchange Act. As detailed

below, the Recommendation Statement omits and/or misrepresents material information
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concerning, among other things: (a) the sales process and in particular certain conflicts of interest
for management; (b) the financial projections for Resonant, provided by Resonant to the
Company’s financial advisors Centerview Partners LLC (“Centerview”) and Stifel, Nicolaus &
Company, Incorporated (“Stifel”); and (c) the data and inputs underlying the financial valuation
analyses, if any, that purport to support the fairness opinions created by Counterview and/or Stifel
and provided to the Company and the Board.

(2 Accordingly, this action seeks to enjoin the Proposed Transaction.

8. Absent judicial intervention, the Proposed Transaction will be consummated,

resulting in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.

PARTIES
9. Plaintiff is a citizen of Kentucky and, at all times relevant hereto, has been a
Resonant, Inc. stockholder.
10. Defendant Resonant, Inc. is a leader in email security, productivity, and

compliance. Resonant, Inc. is incorporated in Delaware and has its principal place of business at
10900 Stonelake Blvd, Suite 100, Office 02-130 Austin, Texas. Shares of Resonant, Inc. common
stock are traded on the Nasdaq Stock Exchange under the symbol “RESN.”

11. | Defendant George B. Holmes (“Holmes”) has been a Director of the Company at
all relevant times. In addition, Holmes serves as the Company’s Chief Executive Officer (“CEO”)
and Chairman of the Board.

12. Defendant Michael Fox (“Fox”) has been a director of the Company at all relevant
times.

13. Defendant Rubén Caballero (“Caballero”) has been a director of the Company
at all relevant times.

14. Defendant Alan B. Howe (“Howe”) has been a director of the Company at all
relevant times.

15. Defendant Jack H. Jacobs (“J.H. Jacobs”) has been a director of the Company at

all relevant times.
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16. Defendant Josh Jacobs (“J. Jacobs”) has been a director of the Company at all
relevant times.

17. Defendant Jean Rankin (“Rankin”) has been a director of the Company at all
relevant times.

18. Defendant Bob Tirva (“Tirva”) has been a director of the Company at all relevant
times.

19. Defendants identified in J] 11 - 18 are collectively referred to as the “Individual
Defendants.”

20. | Non-Party Murata designs, manufactures, and sells electronic components and
related products in Japan and internationally. The company was founded in 1944 and is
headquartered in Nagaokakyo, Japan.

21. | Non-Party Merger Sub is a wholly owned subsidiary of Murata created to effectuate
the Proposed Transaction.

JURISDICTION AND VENUE

22. This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange
Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges
violations of Sections 14(e), 14 (d), and 20(a) of the Exchange Act. This action is not a collusive
one to confer jurisdiction on a court of the United States, which it would not otherwise have. The
Court has supplemental jurisdiction over any claims arising under state law pursuant to 28 U.S.C.
§ 1367.

23. Personal jurisdiction exists over each defendant either because the defendant
conducts business in or maintains operations in this District, or is an individual who is either
present in this District for jurisdictional purposes or has sufficient minimum contacts with this
District as to render the exercise of jurisdiction over defendant by this Court permissible under
traditional notions of fair play and substantial justice.

24. Venue is proper in this District pursuant to 28 U.S.C. § 1391, because each of the

Individual Defendants, as Company officers or directors, has extensive contacts within this
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District; for example, the Company’s stock trades on the Nasdaq Stock Exchange which is
headquartered in this District.
SUBSTANTIVE ALLEGATIONS

Company Background

25. Resonant Inc., a late-stage development company, designs and develops filters for
radio frequency (RF) and front-ends used in the mobile device, automotive, medical, internet-of-
things, and related industries in Japan, China, and internationally. It uses Infinite Synthesized
Networks technology, a software platform to configure and connect resonators that are building
blocks of RF filters. The company develops a series of single-band designs for frequency bands;
and multiplexer filter designs for two or more bands to address the carrier aggregation
requirements; and XBAR, a technology for mobile and non-mobile applications, including 5G,
WiFi, and Ultra-WideBand applications. Resonant Inc. was incorporated in 2012 and is
headquartered in Austin, Texas.

26. |The Company’s most recent financial performance press release, revealing
financial results from the quarter preceding the announcement of the Proposed Transaction,
indicated impressive financial success. For example, in the August 5, 2021 press release
announcing its 2021 Q3 financial results, the Company reported milestones such as Deferred
revenues totaled $4.4 million at the end of the third quarter of 2021, a sequential increase of 550%
as well as an expansion of a multi-year commercial partnership with the Company’s strategic
partner.

27. Speaking on the results, CEO Defendant Holmes said, “We continued to execute
on our operational strategy in the third quarter, most notably highlighted by the recent expansion
of our agreement with our strategic partner, the world’s largest RF filter manufacturer,”.... “The
extended agreement is a testament to the superiority of our XBAR® technology in meeting the
exacting demands required by next generation wireless networks, and a critical advancement

towards the high-volume manufacturing of XBAR® RF filters.’”
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28. The promise and financial results are not an anomaly, but rather, are indicative of
a trend of continued future potential success by Resonant, Inc.. Clearly, based upon the positive
outlook, the Company is likely to have tremendous future success.

29. Despite this upward trajectory, the Individual Defendants have caused Resonant,
Inc. to enter into the Proposed Transaction without providing requisite information to Resonant,
Inc. stockholders such as Plaintiff.

The Flawed Sales Process

30. As detailed in the Recommendation Statement, the process deployed by the
Individual Defendants was flawed and inadequate, was conducted out of the self-interest of the
Individual Defendants and was designed with only one concern in mind — to effectuate a sale of
the Company by any means possible.

31. Notably, the Recommendation Statement fails to indicate whether the so-called
Special Committee of the Board, or its successor, the Strategic Advisory Committee of the Board,
were composed solely of independent and disinterested directors.

32. Next, the Recommendation Statement indicates that while a so-called “Special
Committee” of the Board, or its successor, the “Strategic Advisory Committee” of the Board was
created to run the sales process, said committee was composed in part of Directors who are clearly
not independent or disinterested — for example Defendant Holmes who is the Company CEO. The
Recommendation Statement fails to indicate why this committee was not populated solely with
Board members who were disinterested and independent.

33. The Recommendation Statement also fails to contain adequate information as to
why the Board engaged multiple financial advisors during the sales process. Notably, the
Recommendation Statement reveals that the Board engaged Stifel as a financial advisor during the
sales process, but the Recommendation Statement fails to provide any fairness opinion or other
analyses, if any, which were created by Stifel and provided to the Board in this capacity.

34. In addition, the Recommendation Statement is silent as to the nature of the

confidentiality agreements entered into between the Company and potentially interested third
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parties, including Murata, throughout the sales process, if any, and whether these agreements differ
from each other, and if so in what way. The Recommendation Statement also fails to disclose all
specific conditions under which any standstill provision contained in any entered confidentiality
agreement entered into between the Company and any potentially interested third parties, including
Murata, throughout the sales process, if any, would fall away.

35. It is not surprising, given this background to the overall sales process, that it was
conducted in a completely inappropriate and misleading manner.
The Proposed Transaction

36. On November 8, 2021, Resonant, Inc. issued a joint press release announcing the
Proposed Transaction. The press release stated, in relevant part:

KYOTO and AUSTIN, Texas, Feb. 14, 2022 (GLOBE NEWSWIRE) -- Murata
Electronics North America, Inc., a wholly owned subsidiary of Murata
Manufacturing Co., Ltd., and Resonant Inc. (Resonant) (NASDAQ: RESN) today
announced that they have entered into a definitive agreement under which Murata
will acquire all outstanding shares of Resonant not owned by Murata for $4.50 per
share in cash. Resonant is a leader in transforming the way radio frequency (RF)
front-ends are being designed and delivered for mobile handset and wireless
devices. The combination will allow both companies to expand their offerings and
to access additional markets and customers. Resonant will become a wholly owned
subsidiary of Murata and continue with its innovative development designed to
solve some of the world’s toughest RF challenges.

“This acquisition will combine Murata’s world-leading mobile RF product
capabilities with Resonant’s best-in-class XBAR filter solutions and world-class
team of talented engineers,” said Norio Nakajima, President of Murata. “Resonant
invented its proprietary XBAR technology, which is expected to achieve higher
frequency and superior performance to other filter technologies. We have
collaborated closely with Resonant for many years on the development of
proprietary circuit designs using Resonant’s XBAR technology, and Resonant
licensed to Murata rights for products in multiple specific radio frequencies in
connection with our commercial partnership. We are confident Resonant’s
innovation is a key strategic differentiator for the mobile industry. This transaction
will deepen our existing partnership and position us to better meet our customers’
needs and expand opportunities for Murata.”

“Murata is a global leader in RF modules and filters, and we are excited to build
upon the successful partnership we’ve had together. The combination of Murata’s
leading products with Resonant’s leading edge XBAR filter technologies will
advance our combined ability to deliver best-in-class products to the RF front-end
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market,” said George B. Holmes, Chairman and CEO of Resonant. “As part of the
Murata team, we are looking forward to accelerating the integration of our XBAR
technology into the Murata RF roadmap and delivering solutions with optimum RF
performance. We have tremendous respect for Murata and look forward to
accomplishing great things together.”

“We believe this acquisition will enhance Murata’s advanced RF front-end
capabilities and the world’s best filtering technology in the 3~9GHz frequency
range, key areas for the growing integration of mobile technologies. The radio
requirements of smartphones and other wireless devices continue to grow more
complex. XBAR filter technology delivers the ability to solve the complexities
created by these next generation network requirements. Murata and Resonant will
provide a strong portfolio of Intellectual Property Rights covering the entire XBAR
technology,” concluded Nakajima.

The transaction, which has been approved by both companies’ boards of directors,
is expected to close by the end of March 2022, subject to the tender of a majority
of Resonant’s shares, certain regulatory approvals and other customary closing
conditions.

Potential Conflicts of Interest

37. The breakdown of the benefits of the deal indicates that Resonant insiders are the
primary beneficiaries of the Proposed Transaction, not the Company’s public stockholders such as
Plaintiff. The Board and the Company’s executive officers are conflicted because they will have
secured unique benefits for themselves from the Proposed Transaction not available to Plaintiff as
a public stockholder of Resonant.

38. Notably, Company insiders, currently own large, illiquid portions of Company
stock that will be exchanged for the merger consideration upon the consummation of the Proposed

Transaction as follows:

Number of Value of
Shares Owned Shares Owned

Executive Officers:

George B. Holmes 527,436  $ 2,373,462.00
Martin S. McDermut(1) 271,825 1,223,212.50
Dylan Kelly 174,197 783,886.50
Neal Fenzi 584,730 2,63 1,285.00
Clint Browng) 118,750 534,375.00
Lisa Wolfg) 170,608 767,736.00
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Non-Employee Directors:

Ruben Caballero 154,462 695,079.00
Michael J. Fox) 2,121,168 9,545,256.00
Alan B. Howe 69,184 311,328.00
Jack H. Jacobs 64,184 288,828.00
Joshua Jacobs 67,684 304,578.00
Jean F. Rankin 73,512 330,804.00
Robert Tirva 64,184 288,828.00
Total 4,461,924  $20,078,658.00
39. Moreover, upon the consummation of the Proposed Transaction, the

Recommendation Statement indicates that each outstanding Company stock option, restricted
share, or other equity award will be canceled and converted into the right to receive certain

consideration according to the merger agreement as follows:

Vested Stock Options
Option
Number of Exercise Assumed or
Shares Price Cancelled at Amount of
Underlying Per Effective Option

Name Options Share Time Consideration
Executive Officers (Grant Date):
George B. Holmes
(August 7, 2017) 5,824 $4.51 Cancelled —
(November 6, 2017) 7,663 $4.62 Cancelled —
Total 13,487
Martin S. McDermut
(May 28, 2014) 12,000 $6.00 Cancelled —
Total
Neal Fenzi
(February 5, 2016) 30,000 $1.95 Assumed $76,500
(February 2, 2017) 25,146 $4.36 Assumed $ 3,520
(August 7, 2017) 5,133 $4.51 Cancelled —
(November 6, 2017) 4,752 $4.62 Cancelled —
Total 65,031
Lisa Wolf
(June 30, 2014) 5,000 $7.20 Cancelled —
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(August 8, 2016)

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25,000 $5.06 Cancelled

(February 2, 2017) 15,319 $4.36 Assumed  § 2,145
(August 7, 2017) 6,688 $4.51 Cancelled —
(November 6, 2017) 4,808 $4.62 Cancelled —
Total 56,815
Number of Shares
Underlying RSUs
(Time-Based Amount of RSU
Name Vesting) Consideration($)
Executive Officers:
George B. Holmes 431,101 1,939,954.50
Martin S. McDermut 143,233 644,548.50
Dylan Kelly 302,759 1,362,415.50
Clint Brown 188,024 846,108.00
Neal Fenzi 119,367 537,151.50
Lisa Wolf 135,539 609,925.50
Non-Employee Directors:
Ruben Caballero 106,553 479,488.50
Michael J. Fox 108,334 487,503.00
Alan B. Howe 57,499 258,745.50
Jack H. Jacobs 57,499 258,745.50
Joshua Jacobs 57,499 258,745.50
Jean F. Rankin 67,499 303,745.50
Robert Tirva 67,499 303,745.50
Number of Shares
Underlying RSUs

(Performance-Based Amount of RSU
Name Vesting) Consideration(S)
George B. Holmes 500,000 —
Dylan Kelly 200,000 —

40. In addition, certain employment agreements with certain Resonant executives,

entitle such executives to severance packages should their employment be terminated under certain
circumstances. These ‘golden parachute’ packages are significant and will grant each director or

officer entitled to them millions of dollars, compensation not shared by Plaintiff as follows:

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Golden Parachute Compensation
Perquisites/ Tax

Cash Equity Benefits Reimbursement Other Total Payout
Name So Be Se (S) (S)o (8)
George B. Holmes 1,062,500 1,939,955 50,151 = 5,000 3,057,606
Martin S. McDermut 733,918 644,549 40,859 — 5,000 = 1,424,326
Dylan Kelly 696,300 1,362,416 21,115 we 5,000 2,084,831
41. | The Recommendation Statement also fails to adequately disclose communications

regarding post-transaction employment during the negotiation of the underlying transaction must
be disclosed to stockholders. Communications regarding post-transaction employment during the
negotiation of the underlying transaction must be disclosed to stockholders. This information is
necessary for Plaintiff to understand potential conflicts of interest of management and the Board,
as that information provides illumination concerning motivations that would prevent fiduciaries
from acting solely in the best interests of the Company’s stockholders.

42. Thus, while the Proposed Transaction is not in the best interests of Resonant,
Plaintiff or Company stockholders, it will produce lucrative benefits for the Company’s officers
and directors.

The Materially Misleading and/or Incomplete Recommendation Statement

43. On February 28, 2022, the Resonant Board caused to be filed with the SEC a
materially misleading and incomplete Recommendation Statement, that in violation the Exchange
Act, failed to provide Plaintiff in his capacity as a Company stockholder with material information
and/or provides materially misleading information critical to the total mix of information available
to Plaintiff concerning the financial and procedural fairness of the Proposed Transaction.

Omissions and/or Material Misrepresentations Concerning the Sales Process leading up

to the Proposed Transaction

44. Specifically, the Recommendation Statement fails to disclose material information
concerning the process conducted by the Company and the events leading up to the Proposed
Transaction. In particular, the Recommendation Statement fails to disclose:

a. The specific reasoning as to why the Strategic Advisory Committee or its

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predecessor created by the Board to run the sales process contained Board
members who were not disinterested or independent

b. Adequate reasoning as to why no it was necessary to engage multiple financial
advisors;

c. Whether the terms of any confidentiality agreements entered during the sales
process between Resonant on the one hand, and any other third party (including
Murata), if any, on the other hand, differed from one another, and if so, in what
way;

d. All specific conditions under which any standstill provision contained in any
entered confidentiality agreement entered into between the Company and
potentially interested third parties (including Murata) throughout the sales
process, if any, would fall away; and

e. The Recommendation Statement also fails to adequately disclose
communications regarding post-transaction employment during the negotiation
of the underlying transaction must be disclosed to stockholders.
Communications regarding post-transaction employment during the
negotiation of the underlying transaction must be disclosed to stockholders.
This information is necessary for stockholders to understand potential conflicts
of interest of management and the Board, as that information provides
illumination concerning motivations that would prevent fiduciaries from acting
solely in the best interests of the Company’s stockholders

Omissions and/or Material Misrepresentations Concerning Resonant’s Financial

Projections

45. | The Recommendation Statement fails to provide material information concerning
financial projections for Resonant provided by Resonant management and relied upon by
Centerview in its analyses. The Recommendation Statement discloses management-prepared

financial projections for the Company which are materially misleading.

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46. Notably, in connection with its fairness opinion rendered to the Company Board
regarding the Proposed Transaction, Centerview notes that it reviewed, “certain internal
information relating to the business, operations, earnings, cash flow, assets, liabilities and
prospects of the Company, including the Case One Projections and Case Two Projections.”

47. The Recommendation Statement, therefore, should have, but fails to provide,
certain information in the projections that Resonant management provided to the Board and
Centerview. Courts have uniformly stated that “projections ... are probably among the most
highly-prized disclosures by investors. Investors can come up with their own estimates of discount
rates or [] market multiples. What they cannot hope to do is replicate management’s inside view
of the company’s prospects.” Jn re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203
(Del. Ch. 2007).

48. With regard to Case One Projections for Resonant prepared by Resonant
management, the Recommendation Statement fails to disclose material line items for the following
metrics:

a. Adjusted EBITDA, including all underlying necessary inputs and assumptions,
including specifically: net income, and the specific adjustments made for
depreciation, amortization, net interest income, income tax expense and non-
cash equity compensation expense;

b. Unlevered Free Cash Flows, including all underlying necessary inputs and
assumptions used to calculate this metric.

49. With regard to Case Two Projections for Resonant prepared by Resonant
management, the Recommendation Statement fails to disclose material line items for the following
metrics:

a. Adjusted EBITDA, including all underlying necessary inputs and assumptions,
including specifically: net income, and the specific adjustments made for
depreciation, amortization, net interest income, income tax expense and non-

cash equity compensation expense; and

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b. Unlevered Free Cash Flows, including all underlying necessary inputs and
assumptions used to calculate this metric.

50. The Recommendation Statement also fails to disclose a reconciliation of all non-
GAAP to GAAP metrics utilized in the projections.

51. This information is necessary to provide Plaintiff in his capacity as a Company
stockholder a complete and accurate picture of the sales process and its fairness. Without this
information, Plaintiff is not fully informed as to Defendants’ actions, including those that may
have been taken in bad faith, and cannot fairly assess the process.

52. Without accurate projection data presented in the Recommendation Statement,
Plaintiff is unable to properly evaluate the Company’s true worth, the accuracy of Centerview’s
financial analyses, or make an informed decision whether to tender his shares in favor of the
Proposed Transaction. As such, the Board is in violation of the Exchange Act by failing to include
such information in the Recommendation Statement.

Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

Centerview
53. In the Recommendation Statement, Centerview describes its fairness opinion and
the various valuation analyses performed to render such opinion. However, the descriptions fail
to include necessary underlying data, support for conclusions, or the existence of, or basis for,
underlying assumptions. Without this information, one cannot replicate the analyses, confirm the
valuations or evaluate the fairness opinions.
54. With respect to the Selected Public Company Analysis, the Recommendation
Statement fails to disclose the following:
a. The specific inputs and assumptions used to determine the utilized reference
range of 2023/EV Revenue Trading Multiples of 5.0x to 8.5x;
b. The Company’s estimated net cash as of December 31, 2021; and
c. The number of fully diluted outstanding Shares of Company stock as of
February 11, 2022.

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55. With respect to the Discounted Cash Flow Analysis, the Recommendation
Statement fails to disclose the following:
a. The specific inputs and assumptions used to determine the utilized discount rate
range of 14.50% to 16.00%;
b. Resonant’s weighted average cost of capital utilizes;
c. The specific terminal values for the Company calculated based off the Case One
Projections;
d. The specific terminal values for the Company calculated based off the Case
Two Projections
e. The specific inputs and assumptions used to determine the utilized perpetuity
growth rate range 2.0% to 3.0%;
f. The specific tax savings from usage of the Company’s federal net operating
losses as of December 31, 2021 utilized;
g. The Company’s estimated future losses utilized; and
h. The number of fully diluted outstanding Shares of Company stock as of
February 11, 2022
56. With respect to the Analyst Price Target Analysis, the Recommendation Statement
fails to disclose the following:
a. The specific price targets utilized; and
b. The specific identity of the financial firms who generated the utilized price
targets.
57. With respect to the Premiums Paid Analysis, the Recommendation Statement fails
to disclose the following:
a. The specific inputs and assumptions used to determine the utilized reference
range of 31.6% to 78.4% to the Company’s closing stock price on
February 11, 2022.

58. These disclosures are critical for Plaintiff to be able to make an informed decision

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on whether to tender his shares in favor of the Proposed Transaction.

59. Without the omitted information identified above, Plaintiff is missing critical
information necessary to evaluate whether the proposed consideration truly maximizes his value
and serves his interest as a stockholder. Moreover, without the key financial information and
related disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s
determination that the Proposed Transaction is in his best interests as a public Resonant
stockholder. As such, the Board has violated the Exchange Act by failing to include such
information in the Recommendation Statement.

FIRST COUNT
Violations of Section 14(e) of the Exchange Act
(Against All Defendants)

60. Plaintiff repeats all previous allegations as if set forth in full herein.

61. Defendants have disseminated the Recommendation Statement with the intention
of soliciting stockholders, including Plaintiff, to tender their shares in favor of the Proposed
Transaction.

62. Section 14(e) of the Exchange Act provides that in the solicitation of shares in a
tender offer, “[i]t shall be unlawful for any person to make any untrue statement of a material fact
or omit to state any material fact necessary in order to make the statements made, in the light of
the circumstances under which they are made, not misleading[.].

63. | The Recommendation Statement was prepared in violation of Section 14(e) because
it is materially misleading in numerous respects and omits material facts, including those set forth
above. Moreover, in the exercise of reasonable care, Defendants knew or should have known that
the Recommendation Statement is materially misleading and omits material facts that are

necessary to render them non-misleading.

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64. The Individual Defendants had actual knowledge or should have known of the
misrepresentations and omissions of material facts set forth herein.

65. The Individual Defendants were at least negligent in filing a Recommendation
Statement that was materially misleading and/or omitted material facts necessary to make the
Recommendation Statement not misleading.

66. The misrepresentations and omissions in the Recommendation Statement are
material to Plaintiff, and Plaintiff will be deprived of his entitlement to decide whether to tender
its shares on the basis of complete information if such misrepresentations and omissions are not
corrected prior to the expiration of the tender offer period regarding the Proposed Transaction.

67. Plaintiff has no adequate remedy at law.
SECOND COUNT
Violations of Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9

(Against all Individual Defendants)

68. Plaintiff repeats and realleges all previous allegations as if set forth in full herein.

69. Defendants have disseminated the Recommendation Statement with the intention
of soliciting stockholders, including Plaintiff, to tender their shares in favor of the Proposed
Transaction.

70. Section 14(d)(4) requires Defendants to make full and complete disclosure in
connection with a tender offer.

71. SEC Rule 14d-9 requires a Company’s directors to, furnish such additional
information, if any, as may be necessary to make the required statements, in light of the
circumstances under which they are made, not materially misleading.

72. Here, the Recommendation Statement violates both Section 14(d)(4) and SEC Rule

14d-9 because it because it is materially misleading in numerous respects, omits material facts,

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including those set forth above and Defendants knowingly or recklessly omitted the material facts
from the Recommendation Statement.

73. The misrepresentations and omissions in the Recommendation Statement are
material to Plaintiff, and Plaintiff will be deprived of his entitlement to decide whether to tender
his shares on the basis of complete information if such misrepresentations and omissions are not
corrected prior to the expiration of the tender offer period regarding the Proposed Transaction.

74. Plaintiff has no adequate remedy at law.
THIRD COUNT
Violations of Section 20(a) of the Exchange Act

(Against all Individual Defendants)

75. Plaintiff repeats all previous allegations as if set forth in full herein.

76. The Individual Defendants were privy to non-public information concerning the
Company and its business and operations via access to internal corporate documents, conversations
and connections with other corporate officers and employees, attendance at management and
Board meetings and committees thereof and via reports and other information provided to them in
connection therewith. Because of their possession of such information, the Individual Defendants
knew or should have known that the Recommendation Statement was materially misleading to
Plaintiff in his capacity as a Company stockholder.

77. The Individual Defendants were involved in drafting, producing, reviewing and/or
disseminating the materially false and misleading statements complained of herein. The Individual
Defendants were aware or should have been aware that materially false and misleading statements
were being issued by the Company in the Recommendation Statement and nevertheless approved,
ratified and/or failed to correct those statements, in violation of federal securities laws. The
Individual Defendants were able to, and did, control the contents of the Recommendation

Statement. The Individual Defendants were provided with copies of, reviewed and approved,

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and/or signed the Recommendation Statement before its issuance and had the ability or opportunity
to prevent its issuance or to cause it to be corrected.

78. The Individual Defendants also were able to, and did, directly or indirectly, control
the conduct of Resonant, Inc.’s business, the information contained in its filings with the SEC, and
its public statements. Because of their positions and access to material non-public information
available to them but not the public, the Individual Defendants knew or should have known that
the misrepresentations specified herein had not been properly disclosed to and were being
concealed from Plaintiff and Company, and that the Recommendation Statement was misleading.
As a result, the Individual Defendants are responsible for the accuracy of the Recommendation
Statement and are therefore responsible and liable for the misrepresentations contained herein.

79. The Individual Defendants acted as controlling persons of Resonant, Inc. within the
meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the
Individual Defendants had the power and authority to cause Resonant, Inc. to engage in the
wrongful conduct complained of herein. The Individual Defendants controlled Resonant, Inc. and
all of its employees. As alleged above, Resonant, Inc. is a primary violator of Section 14 of the
Exchange Act and SEC Rule 14a-9. By reason of their conduct, the Individual Defendants are
liable pursuant to section 20(a) of the Exchange Act.

WHEREFORE, Plaintiff demands injunctive relief, in his favor and against the Defendants,

as follows:
A. Enjoining the Proposed Transaction;
B. In the event Defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;

C. Directing the Individual Defendants to exercise their fiduciary duties to disseminate
a Recommendation Statement that does not contain any untrue statements of material fact
and that states all material facts required in it or necessary to make the statements contained

therein not misleading;

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D. Awarding Plaintiff the costs of this action, including reasonable allowance for
Plaintiff’s attorneys’ and experts’ fees; and
E. Granting such other and further relief as this Court may deem just and proper.

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury on all issues which can be heard by a jury.

Dated: March 1, 2022 BRODSKY & SMITH

By:

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Counsel for Plaintiff

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